Case 1:19-CV-10113-ADB Document 5 Filed 02/25/19 Page 1 of 4

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS
BOSTON DIVISION

PURE ENCAPSULATIONS, LLC,
490 Boston Post Road
Sudbury, Massachuesetts 01776

Plaintiff,
v.

LEAN LIVING INC.
3 Shaughnessy Crescent
Kanata, ON K2K 2Pl Canada

And,

MICHAEL SHERIDAN
3 Shaughnessy Crescent
Kanata, ON KZK 2Pl Canada

And,

JOHN DOES l- 1 00, individually or as
corporate/business entities,

Defendants.

 

Civil Action No.:
1:19-CV-10113-ADB

AFFIDAVIT OF SERVICE

I, Dave Kilrea, of the City of Ottawa , in the Province of Ontario MAKE OATH AND SAY:

l. On Tuesday, February l9, 2019, at 7:50 P.M., I personally served the Defendant, Lean
Living Inc. with the Cornplaint, Civil Action Cover Sheet, Category Forrn, Corporate Disclosure

and Summons by leaving a copy With Michael Sheridan, employee at3 Shaughnessy Crescent,

Kanata, ON KZK 2Pl.

Case 1:19-CV-10113-ADB Document 5 Filed 02/25/19 Page 2 of 4

2. On Tuesday, February 19, 2019, at 7:50 p.m., I personally Served the Defendant, Michael

Sheridan With the Complaint, Civil Action Cover Sheet, Category Form, Corporate Disclosure

and Summons by leaving a copy With him at 3 Shaughnessy Crescent, Kanata, ON KZK 2Pl.

3. I Was able to identify the person by means of introduction

SWORN BEFORE ME at the City of
Toronto, in the Province of Ontario on
Februaryz | , 2019

  

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(or as may be) `

 

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UNITED STATES DISTRICT COURT

for the
DISTRICT OF MASSACHUSETTS

PURE ENCAPSULAT!ONS, LLC
Plaintz`yj‘”

 

Civil Action No.:
v. 1:19-CV-10113-ADB

LEAN LIVING, INC., ET AL.
Defendant

 

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) -- or 60
days if you are the United States or a United States agency, or an officer or employee of the United States
described in Fed. R. Civ. P. 12 (a)(Z) or (3) _- you must serve on the plaintiff an answer to the attached
complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be
served on the plaintiff or plaintiffs attorney, whose name and address are:

If you fail to respond, judgment by default will be entered against you for the relief demanded in
the complaint You also must file your answer or motion with the court.

ROBERT M. FARRELL
CLERK OF COURT

 

/s/ - Timothy DeMaria
Signature of Clerk or Deputy Clerk

 

 

ISSUED ON 2019-01-18 15:13:12.0, Clerk USDC DMA

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Civil Action No.: 1:19-CV-10113-ADB
PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

This summons for (name of individual and title, if any) LEAN duin T,¢OC. \`r l/\ i(',(~l R&t. 5 ME('€/ D&i\»

 

was received by me on (date) C lac L>€ " 210 i(`i
. § _,..‘__».»-/"
M personally served the summons on the individual at (place) g S\'\QU ',`L\\r\€ <»°l C’ QX`Q"J\( oh
(be`@%@` ‘ @\/\’,\`(!»\0 ICZ 199 F ( on (date) {<:zlorcO/wv} 1011 `Z¢h ; OI`

 

 

§"; I left the summons at the individual's residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual's last known address; or

:U:`? I served the summons on (name of individual) , WhO iS

 

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or

 

1335 I returned the summons unexecuted because ; 0r
zi- Other (specify) :

My fees are $ Ll @\W for travel and $ 60 jim for services, for a total of $ l C> fm

I declare under penalty of perjury that this information is true.

Date Server's Signature

DQ\)Q \<\\ NQQ~

Printed name and title

 

 

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Server's Address

 

Additional information regarding attempted service, etc:

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